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                            Exhibit A




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  10
                            UNITED STATES DISTRICT COURT
  11
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13
     VANESSA BRYANT, a California                Case No. 2:20-cv-09582-JFW-E
  14 Resident,
                                                 PLAINTIFF VANESSA BRYANT’S
  15              Plaintiff,                     SECOND AMENDED RESPONSES &
                                                 OBJECTIONS TO DEFENDANT
  16        vs.                                  COUNTY OF LOS ANGELES’S
                                                 AMENDED FIRST SET OF
  17 COUNTY OF LOS ANGELES, a                    INTERROGATORIES
     public entity, et al.,
  18                                             Judge: Hon. John F. Walter
                  Defendants.
  19                                             Trial Date:     February 22, 2021
  20
  21
       PROPOUNDING PARTY:             COUNTY OF LOS ANGELES
  22
       RESPONDING PARTY:              VANESSA BRYANT
  23
       SET NO.:                       ONE
  24
  25
  26
  27
  28
                                                                 Case No. 2:20-cv-09582-JFW-E
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   1     SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES
   2         Subject to and without waiving each objection set forth in the foregoing
   3 General Objections, which are incorporated by reference into each response below,
   4 and the Specific Objections and Responses to Interrogatories set forth below, and
   5 without waiving any objections that may be interposed in the future, Plaintiff
   6 responds to the Interrogatories as follows:
   7 INTERROGATORY NO. 1:
   8         DESCRIBE all facts supporting the First Cause of Action in YOUR
   9 COMPLAINT for violation of the Fourteenth Amendment pursuant to 42 U.S.C.
  10 § 1983.
  11 RESPONSE TO INTERROGATORY NO. 1:
  12         Plaintiff incorporates her General Objections above as if fully set forth herein.
  13 Plaintiff objects to this Interrogatory because it is a premature contention
  14 interrogatory improperly served before discovery in this matter—including
  15 document productions, inspection of electronic devices, depositions, and expert
  16 reports—is substantially complete. See, e.g., In re eBay Seller Antitrust Litig., 2008
  17 WL 5212170, at *2 (N.D. Cal. Dec. 11, 2008). Given this outstanding discovery, it
  18 is improper and unreasonable to request that Plaintiff set forth “all facts” in support
  19 of her claims, and the burden imposed on Plaintiff in compiling a list of facts is
  20 grossly disproportionate to any likely benefit to COLA. This is especially true given
  21 that the overwhelming majority of facts pertaining to Plaintiff’s claims are reflected
  22 in Defendants’ documents and/or are within the personal knowledge of COLA
  23 employees, both of which are the object of pending discovery.
  24         Plaintiff further objects that COLA’s request that Plaintiff “state with
  25 particularity all material information pertaining to identified subject matter” and
  26 provide a “detailed account of the PERSONS, places, and timeframe involved” is
  27 overbroad, unreasonable, unduly burdensome, calls for information outside of
  28 Plaintiff’s personal knowledge, and is not proportional to the needs of the case. The
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   1 burden and expense that would be imposed on Plaintiff in reciting a list of facts
   2 adduced from thousands of pages of documents and deposition testimony would
   3 decidedly outweigh any likely benefit to COLA.
   4         Plaintiff further objects to this Interrogatory under Fed. R. Civ. P. 33(d)
   5 because it seeks information that is contained in documents that have been or are
   6 expected to be produced by Plaintiff, COLA, the Sheriff’s Department, the Fire
   7 Department, and the Deputy Defendants, or that are publicly available, and the
   8 burden of deriving or ascertaining the information from those documents will be
   9 substantially the same for Plaintiff as it is for COLA.
  10         Plaintiff further objects to this Interrogatory to the extent it seeks information
  11 beyond the scope of her personal knowledge or about documents not in Plaintiff’s
  12 custody or control.
  13         Plaintiff reserves the right to supplement and amend this response, including
  14 based on discovery taken or information discovered after service of the response.
  15 AMENDED RESPONSE TO INTERROGATORY NO. 1:
  16         Plaintiff incorporates her General Objections above as if fully set forth herein.
  17 Plaintiff objects to this Interrogatory because it is a premature contention
  18 interrogatory improperly served before discovery in this matter—including
  19 document productions, inspection of electronic devices, depositions, and expert
  20 reports—is substantially complete. See, e.g., In re eBay Seller Antitrust Litig., 2008
  21 WL 5212170, at *2 (N.D. Cal. Dec. 11, 2008). Given this outstanding discovery, it
  22 is improper and unreasonable to request that Plaintiff set forth “all facts” in support
  23 of her claims, and the burden imposed on Plaintiff in compiling a list of facts is
  24 grossly disproportionate to any likely benefit to COLA. This is especially true given
  25 that the overwhelming majority of facts pertaining to Plaintiff’s claims are reflected
  26 in Defendants’ documents and/or are within the personal knowledge of COLA
  27 employees, both of which are the object of pending discovery.
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   1         Plaintiff further objects that COLA’s request that Plaintiff “state with
   2 particularity all material information pertaining to identified subject matter” and
   3 provide a “detailed account of the PERSONS, places, and timeframe involved” is
   4 overbroad, unreasonable, unduly burdensome, calls for information outside of
   5 Plaintiff’s personal knowledge, and is not proportional to the needs of the case. The
   6 burden and expense that would be imposed on Plaintiff in reciting a list of facts
   7 adduced from thousands of pages of documents and deposition testimony would
   8 decidedly outweigh any likely benefit to COLA.
   9         Plaintiff further objects to this Interrogatory under Fed. R. Civ. P. 33(d)
  10 because it seeks information that is contained in documents that have been or are
  11 expected to be produced by Plaintiff, COLA, the Sheriff’s Department, the Fire
  12 Department, and the Deputy Defendants, or that are publicly available, and the
  13 burden of deriving or ascertaining the information from those documents will be
  14 substantially the same for Plaintiff as it is for COLA.
  15         Plaintiff further objects to this Interrogatory to the extent it seeks information
  16 beyond the scope of her personal knowledge or about documents not in Plaintiff’s
  17 custody or control.
  18         Subject to and without waiving the foregoing objections, Plaintiff identifies
  19 the following facts that, based on the information available to Plaintiff to date,
  20 support Plaintiff’s First Cause of Action in her Amended Complaint. Plaintiff
  21 reserves the right to supplement and amend this response, including based on
  22 discovery taken or information discovered after service of the response:
  23         While in uniform at the scene of the January 26, 2020 helicopter crash in
  24 which Plaintiff’s husband and daughter were killed, several personnel of the Los
  25 Angeles County Sheriff’s Department (“LASD”) and the Los Angeles County Fire
  26 Department (“LAFD”) used their cell phones to take unauthorized images of the
  27 remains of victims of the crash, including images of the remains of Plaintiff’s
  28 husband and daughter. LASD and LAFD personnel kept those images on their cell
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   1 phones and then indiscriminately shared those images with others within their
   2 departments who had no legitimate need or reason to see the photos, including a
   3 trainee whose only role at the scene was monitoring the entry to a trailhead, a video-
   4 game buddy, and an LAFD public information officer (“PIO”) called to the scene to
   5 liaise with the media.
   6          At least several of these LASD and LAFD personnel shared these photos
   7 with members of the public. Defendant Joey Cruz showed off photos of the victims’
   8 remains at a bar, bragging about how he had been at the crash site, smiling while
   9 displaying the images to the bartender and another patron, and identifying one of the
  10 individuals depicted as Kobe Bryant. Deputy Cruz also showed the photos to his
  11 niece. The LAFD PIO showed off and discussed photos of the victims’ remains
  12 with fellow LAFD personnel and their girlfriends and wives at a public awards-
  13 show gala.
  14        The Los Angeles County Sheriff, Alex Villanueva, told reporters that LASD
  15 personnel “had no place to be taking photographs of anything”; that in this scenario
  16 “there’s only two groups of people that should be taking photos . . . the NTSB and
  17 the Coroner’s office”; and that any photos taken by anyone outside of that group
  18 “would be unauthorized” and “illicit,” in addition to being “disgusting,” “wildly
  19 inappropriate,” “inexcusable,” and “unconscionable.” Deputy Chief William
  20 McCloud of the LAFD Leadership and Professional Standards Bureau similarly
  21 stated that the photos taken and shared by LAFD personnel “served no business
  22 necessity” and instead “only served to appeal to baser instincts and desires for what
  23 amounted to visual gossip.”
  24        At all relevant times, the LASD and LAFD personnel who took or shared
  25 photos of Plaintiff’s loved ones’ remains for personal, non-law-enforcement
  26 purposes, including the Deputy Defendants, were employed by LASD and LAFD
  27 and were under COLA, LASD, or LAFD’s direction and control when they engaged
  28 in this misconduct. These LASD and LAFD personnel, including the Deputy
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   1 Defendants, were able to obtain photos of Plaintiffs’ loved ones’ remains by virtue
   2 of their access to the crash site while on duty and were able to access such photos,
   3 both while on duty and off duty, by virtue of their employment with LASD and
   4 LAFD. LASD and LAFD personnel showed the photos to members of the public
   5 while discussing their presence and activities at the crash site—access they had by
   6 virtue of their employment with LASD and LAFD.
   7         LASD, LAFD, and COLA failed to preserve evidence or conduct a proper
   8 investigation of their personnel’s misconduct. Just five days after the accident,
   9 LAFD was informed that LAFD personnel took photos of the crash site and received
  10 such photos from an LASD deputy. Upon receiving this information, LAFD made a
  11 “cursory assessment” to try to identify the individuals involved in the misconduct.
  12 It did not launch an internal investigation, conduct any interviews, or examine any
  13 devices used by personnel who responded to the scene. To this day, LAFD has yet
  14 to identify the LAFD employee who received photos of victims’ remains from the
  15 LASD deputy.
  16         On Sheriff Villanueva’s order, LASD deputies were told that they would not
  17 face any discipline if they “came clean” and deleted any photos in their possession,
  18 and LASD deputies did delete those photos. LAFD personnel also deleted photos in
  19 their possession, which LAFD has recognized as a “primarily self-serving” attempt
  20 “to cover up [their] role[s] in the reported misuse of the photos,” showing a “refusal
  21 to take responsibility.” Neither LASD nor LAFD conducted any prompt forensic
  22 investigation of the devices that their personnel used to engage in misconduct in
  23 order to determine the scope of that misconduct and the extent of the dissemination
  24 of the photos of Plaintiff’s deceased family members, and LASD never forensically
  25 preserved or examined any devices at all.
  26         Upon learning of Sheriff Villanueva’s deletion order, the then-Captain of the
  27 Lost Hills LASD station, Matthew Vander Horck, halted the deletion and called his
  28 supervisor to express concern that the Sheriff’s order might constitute an instruction
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   1 to destroy evidence of a violation of federal law, reminding his supervisor that the
   2 “last time that our deputies got instructions from our executives” of a similar nature,
   3 “they were arrested and tried for crimes.” After contacting the Sheriff’s office,
   4 Vander Horck’s supervisor called Vander Horck and told him “this is the direction
   5 we’re gonna go.” Just a few weeks later, on February 18, 2020, LASD demoted and
   6 transferred Vander Horck to Men’s Central Jail. Defendant Cruz, on the other hand,
   7 received only a ten day suspension without pay, and no other LASD personnel were
   8 subject to disciplinary action at all. Although the LAFD PIO received a demotion,
   9 two other LAFD personnel involved in the sharing of photos of Plaintiff’s loved
  10 ones’ remains have to date not been subjected to disciplinary action.
  11         Sheriff Villanueva has acknowledged to the press that “there’s cops—they
  12 keep death books, for example, where . . . they have photos from crime scenes
  13 throughout their careers” and that “unfortunately, ever since they invented the
  14 Polaroid camera, this has been a problem in law enforcement across the nation,
  15 probably across the world, because it just makes it so much easier.” He has further
  16 acknowledged that “[e]very police department struggles with the same thing, where
  17 people take photos and they’re not evidence . . . So that’s a practice we have to
  18 make sure that everyone walks away, and there is no evidence other than the official
  19 photos of evidence that are taken for criminal purposes.” Similarly, LAFD first
  20 responders encounter scenes with human remains all the time, and “it is very
  21 common for photos to be taken,” including “gruesome photos.” Given the nature of
  22 their work, LAFD was “in need of a strong policy” to prevent unnecessary graphic
  23 photographs of human remains.
  24         Despite their knowledge of this longstanding practice of law enforcement
  25 improperly taking and disseminating photos of deceased individuals and the
  26 frequency with which their personnel confront scenes involving human remains,
  27 COLA, LASD, and LAFD failed to institute policies or procedures prohibiting the
  28 taking, keeping, and distributing gratuitous images of human remains; failed to
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             PLAINTIFF VANESSA BRYANT’S SECOND AMENDED RESPONSES & OBJECTIONS TO
            DEFENDANT COUNTY OF LOS ANGELES’S AMENDED FIRST SET OF INTERROGATORIES


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   1 adequately train and supervise their personnel to ensure they did not do so; and
   2 failed to adequately investigate and discipline personnel who did do so.
   3         Numerous deputies who responded to the accident scene on January 26, 2020
   4 told investigators there was no instruction or briefing regarding photography of the
   5 crash site or human remains. In a letter to the Los Angeles County Inspector
   6 General, Sheriff Villanueva stated: “It is evident our photograph policy is deficient
   7 and this incident has identified a need for me to direct the creation of a new policy.”
   8 Similarly, in a March 2020 media interview, Sheriff Villanueva stated that the
   9 Department was “creating new [policies] that are very specific, with teeth in ‘em, up
  10 to and including a penalty of discharge for violation of these policies.”
  11         Within months, LASD added an entirely new section to its Manual of Policies
  12 and Procedures, entitled “Photographs/Recordings at Scenes Where Human
  13 Remains Are Present.” The new policy dictates that, “[i]n order to preserve the
  14 dignity and privacy of the deceased and their families, scenes where human remains
  15 are present shall only be photographed/recorded by Scientific Services Bureau or the
  16 Department of Medical Examiner (DME) personnel.” The new policy further
  17 provides: “Any photograph, recording, or record produced by a Department
  18 member . . . shall be considered the sole property of the Department” and “[a]ny
  19 unauthorized release or sharing is strictly prohibited.”
  20         LAFD has likewise admitted that, at the time of the crash, LAFD lacked any
  21 policies regarding photos of accident or emergency scenes; photos of human
  22 remains; the use of personal cell phones by LAFD personnel while on duty; or the
  23 confidentiality or handling of materials or information relating to celebrities, and
  24 that LAFD still had not implemented any such policies as of January 1, 2021. Given
  25 this prior gap in their policies and training, LAFD has recognized that it “owe[s] it
  26 to the communities that [it] serve[s]” to adopt a new policy that provides guidance to
  27 rank and file employees regarding what photographs are and are not appropriate at
  28 work-related scenes.
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  1         Defendants’ misconduct has caused Plaintiff emotional distress.
  2 SECOND AMENDED RESPONSE TO INTERROGATORY NO. 1:
  3         Plaintiff incorporates her General Objections above as if fully set forth herein.
  4 Plaintiff objects to this Interrogatory because it is a premature contention
  5 interrogatory improperly served before discovery in this matter—including
  6 document productions, inspection of electronic devices, depositions, and expert
  7 reports—is substantially complete. See, e.g., In re eBay Seller Antitrust Litig., 2008
  8 WL 5212170, at *2 (N.D. Cal. Dec. 11, 2008). Given this outstanding discovery, it
  9 is improper and unreasonable to request that Plaintiff set forth “all facts” in support
 10 of her claims, and the burden imposed on Plaintiff in compiling a list of facts is
 11 grossly disproportionate to any likely benefit to COLA. This is especially true given
 12 that the overwhelming majority of facts pertaining to Plaintiff’s claims are reflected
 13 in Defendants’ documents and/or are within the personal knowledge of COLA
 14 employees, both of which are the object of pending discovery.
 15         Plaintiff further objects that COLA’s request that Plaintiff “state with
 16 particularity all material information pertaining to identified subject matter” and
 17 provide a “detailed account of the PERSONS, places, and timeframe involved” is
 18 overbroad, unreasonable, unduly burdensome, calls for information outside of
 19 Plaintiff’s personal knowledge, and is not proportional to the needs of the case. The
 20 burden and expense that would be imposed on Plaintiff in reciting a list of facts
 21 adduced from thousands of pages of documents and deposition testimony would
 22 decidedly outweigh any likely benefit to COLA.
 23         Plaintiff further objects to this Interrogatory under Fed. R. Civ. P. 33(d)
 24 because it seeks information that is contained in documents that have been or are
 25 expected to be produced by Plaintiff, COLA, the Sheriff’s Department, the Fire
 26 Department, and the Deputy Defendants, or that are publicly available, and the
 27 burden of deriving or ascertaining the information from those documents will be
 28 substantially the same for Plaintiff as it is for COLA.
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  1        Plaintiff further objects to this Interrogatory to the extent it seeks information
  2 beyond the scope of her personal knowledge or about documents not in Plaintiff’s
  3 custody or control.
  4        Subject to and without waiving the foregoing objections, Plaintiff identifies
  5 the following facts that, based on the information available to Plaintiff to date,
  6 support Plaintiff’s First Cause of Action in her Amended Complaint. Plaintiff
  7 reserves the right to supplement and amend this response, including based on
  8 discovery taken or information discovered after service of the response:
  9        While in uniform at the scene of the January 26, 2020 helicopter crash in
 10 which Plaintiff’s husband and daughter were killed, several personnel of the Los
 11 Angeles County Sheriff’s Department (“LASD”) and the Los Angeles County Fire
 12 Department (“LAFD”) used their cell phones to take unauthorized images of the
 13 remains of victims of the crash, including images of the remains of Plaintiff’s
 14 husband and daughter. LASD and LAFD personnel kept those images on their cell
 15 phones and then indiscriminately shared those images with others within their
 16 departments who had no legitimate need or reason to see the photos, including a
 17 trainee whose only role at the scene was monitoring the entry to a trailhead, a video-
 18 game buddy, and an LAFD public information officer (“PIO”) called to the scene to
 19 liaise with the media.
 20          At least several of these LASD and LAFD personnel shared these photos
 21 with members of the public. Defendant Joey Cruz showed off photos of the victims’
 22 remains at a bar, bragging about how he had been at the crash site, smiling while
 23 displaying the images to the bartender and another patron, and identifying one of the
 24 individuals depicted as Kobe Bryant. Deputy Cruz also showed the photos to his
 25 niece. The LAFD PIO showed off and discussed photos of the victims’ remains
 26 with fellow LAFD personnel and their girlfriends and wives at a public awards-
 27 show gala.
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  1        The Los Angeles County Sheriff, Alex Villanueva, told reporters that LASD
  2 personnel “had no place to be taking photographs of anything”; that in this scenario
  3 “there’s only two groups of people that should be taking photos . . . the NTSB and
  4 the Coroner’s office”; and that any photos taken by anyone outside of that group
  5 “would be unauthorized” and “illicit,” in addition to being “disgusting,” “wildly
  6 inappropriate,” “inexcusable,” and “unconscionable.” Deputy Chief William
  7 McCloud of the LAFD Leadership and Professional Standards Bureau similarly
  8 stated that the photos taken and shared by LAFD personnel “served no business
  9 necessity” and instead “only served to appeal to baser instincts and desires for what
 10 amounted to visual gossip.”
 11        At all relevant times, the LASD and LAFD personnel who took or shared
 12 photos of Plaintiff’s loved ones’ remains for personal, non-law-enforcement
 13 purposes, including the Deputy Defendants, were employed by LASD and LAFD
 14 and were under COLA, LASD, or LAFD’s direction and control when they engaged
 15 in this misconduct. These LASD and LAFD personnel, including the Deputy
 16 Defendants, were able to obtain photos of Plaintiffs’ loved ones’ remains by virtue
 17 of their access to the crash site while on duty and were able to access such photos,
 18 both while on duty and off duty, by virtue of their employment with LASD and
 19 LAFD. LASD and LAFD personnel showed the photos to members of the public
 20 while discussing their presence and activities at the crash site—access they had by
 21 virtue of their employment with LASD and LAFD.
 22        LASD, LAFD, and COLA failed to preserve evidence or conduct a proper
 23 investigation of their personnel’s misconduct. Just five days after the accident,
 24 LAFD was informed that LAFD personnel took photos of the crash site and received
 25 such photos from an LASD deputy. Upon receiving this information, LAFD made a
 26 “cursory assessment” to try to identify the individuals involved in the misconduct.
 27 It did not launch an internal investigation, conduct any interviews, or examine any
 28 devices used by personnel who responded to the scene. To this day, LAFD has yet
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  1 to identify the LAFD employee who received photos of victims’ remains from the
  2 LASD deputy.
  3         On Sheriff Villanueva’s order, LASD deputies were told that they would not
  4 face any discipline if they “came clean” and deleted any photos in their possession,
  5 and LASD deputies did delete those photos. LAFD personnel also deleted photos in
  6 their possession, which LAFD has recognized as a “primarily self-serving” attempt
  7 “to cover up [their] role[s] in the reported misuse of the photos,” showing a “refusal
  8 to take responsibility.” Neither LASD nor LAFD conducted any prompt forensic
  9 investigation of the devices that their personnel used to engage in misconduct in
 10 order to determine the scope of that misconduct and the extent of the dissemination
 11 of the photos of Plaintiff’s deceased family members, and LASD never forensically
 12 preserved or examined any devices at all.
 13         Upon learning of Sheriff Villanueva’s deletion order, the then-Captain of the
 14 Lost Hills LASD station, Matthew Vander Horck, halted the deletion and called his
 15 supervisor to express concern that the Sheriff’s order might constitute an instruction
 16 to destroy evidence of a violation of federal law, reminding his supervisor that the
 17 “last time that our deputies got instructions from our executives” of a similar nature,
 18 “they were arrested and tried for crimes.” After contacting the Sheriff’s office,
 19 Vander Horck’s supervisor called Vander Horck and told him “this is the direction
 20 we’re gonna go.” Just a few weeks later, on February 18, 2020, LASD demoted and
 21 transferred Vander Horck to Men’s Central Jail. Defendant Cruz, on the other hand,
 22 received only a ten day suspension without pay, and no other LASD personnel were
 23 subject to disciplinary action at all. Although the LAFD PIO received a demotion,
 24 two other LAFD personnel involved in the sharing of photos of Plaintiff’s loved
 25 ones’ remains have to date not been subjected to disciplinary action.
 26         Sheriff Villanueva has acknowledged to the press that “there’s cops—they
 27 keep death books, for example, where . . . they have photos from crime scenes
 28 throughout their careers” and that “unfortunately, ever since they invented the
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  1 Polaroid camera, this has been a problem in law enforcement across the nation,
  2 probably across the world, because it just makes it so much easier.” He has further
  3 acknowledged that “[e]very police department struggles with the same thing, where
  4 people take photos and they’re not evidence . . . So that’s a practice we have to
  5 make sure that everyone walks away, and there is no evidence other than the official
  6 photos of evidence that are taken for criminal purposes.” Similarly, LAFD first
  7 responders encounter scenes with human remains all the time, and “it is very
  8 common for photos to be taken,” including “gruesome photos.” Given the nature of
  9 their work, LAFD was “in need of a strong policy” to prevent unnecessary graphic
 10 photographs of human remains.
 11         Despite their knowledge of this longstanding practice of law enforcement
 12 improperly taking and disseminating photos of deceased individuals and the
 13 frequency with which their personnel confront scenes involving human remains,
 14 COLA, LASD, and LAFD failed to institute policies or procedures prohibiting the
 15 taking, keeping, and distributing gratuitous images of human remains; failed to
 16 adequately train and supervise their personnel to ensure they did not do so; and
 17 failed to adequately investigate and discipline personnel who did do so.
 18         Numerous deputies who responded to the accident scene on January 26, 2020
 19 told investigators there was no instruction or briefing regarding photography of the
 20 crash site or human remains. In a letter to the Los Angeles County Inspector
 21 General, Sheriff Villanueva stated: “It is evident our photograph policy is deficient
 22 and this incident has identified a need for me to direct the creation of a new policy.”
 23 Similarly, in a March 2020 media interview, Sheriff Villanueva stated that the
 24 Department was “creating new [policies] that are very specific, with teeth in ‘em, up
 25 to and including a penalty of discharge for violation of these policies.”
 26         Within months, LASD added an entirely new section to its Manual of Policies
 27 and Procedures, entitled “Photographs/Recordings at Scenes Where Human
 28 Remains Are Present.” The new policy dictates that, “[i]n order to preserve the
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  1 dignity and privacy of the deceased and their families, scenes where human remains
  2 are present shall only be photographed/recorded by Scientific Services Bureau or the
  3 Department of Medical Examiner (DME) personnel.” The new policy further
  4 provides: “Any photograph, recording, or record produced by a Department
  5 member . . . shall be considered the sole property of the Department” and “[a]ny
  6 unauthorized release or sharing is strictly prohibited.”
  7         LAFD has likewise admitted that, at the time of the crash, LAFD lacked any
  8 policies regarding photos of accident or emergency scenes; photos of human
  9 remains; the use of personal cell phones by LAFD personnel while on duty; or the
 10 confidentiality or handling of materials or information relating to celebrities, and
 11 that LAFD still had not implemented any such policies as of January 1, 2021. Given
 12 this prior gap in their policies and training, LAFD has recognized that it “owe[s] it
 13 to the communities that [it] serve[s]” to adopt a new policy that provides guidance to
 14 rank and file employees regarding what photographs are and are not appropriate at
 15 work-related scenes.
 16         In the days following the helicopter crash, Jennifer Danielle Bolden was
 17 working as a bartender at the Bottoms Up Tiki Lounge on Alondra Avenue in
 18 Bellflower, California. While Ms. Bolden and several others at the bar were
 19 discussing the crash and comforting each other regarding Kobe and Gianna Bryant’s
 20 deaths, a dark-haired man sitting at the bar told Ms. Bolden and others that a friend
 21 of his who was employed as a law-enforcement officer had been stationed at the
 22 crash site to keep coyotes away from the accident victims’ remains; that the friend
 23 had shown the dark-haired man pictures of the victims’ remains on his smartphone;
 24 and that the photos depicted, among other graphic details,
 25                                                                  .
 26         Within three or four days of the crash, Jessica Padeski-Wells was working at
 27 the bar of a TGI Friday’s restaurant in Corona, California. A bar patron showed Ms.
 28 Padeski-Wells about five to ten photos on his smartphone that depicted, at close
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  1 range, fiery wreckage at the crash site. The patron told Ms. Padeski-Wells that he
  2 was employed with the Orange County Sheriff’s Department and that he had been
  3 sent the photos by someone in his department. Regarding the photos, he also told
  4 Ms. Padeski-Wells, “I’m not even supposed to have these.”
  5         Within a few days of the helicopter accident, Rose Abraham, a loan officer
  6 residing in West Hills, California, discussed the crash with her daughter. Ms.
  7 Abraham’s daughter told her that her friend—an officer of the Los Angeles Police
  8 Department—had received gory and grotesque photos of the crash site.
  9         Members of the general public have taunted Plaintiff about the possibility of
 10 photographs of her husband or daughter’s remains being publicly shared and have
 11 even threatened to publish such images. Others have claimed that they have seen
 12 such photos or know people who have seen such photos, while still others have
 13 claimed that images circulating online—including at least one fake image created
 14 using photo-manipulation tools—show Plaintiff’s husband’s remains. Plaintiff has
 15 seen photos of the January 26, 2020 helicopter crash posted online that purport to
 16 contain human remains.
 17         Defendants’ misconduct has caused Plaintiff emotional distress.
 18 INTERROGATORY NO. 2:
 19         DESCRIBE all facts supporting the Second Cause of Action in YOUR
 20 COMPLAINT for negligence.
 21 RESPONSE TO INTERROGATORY NO. 2:
 22         Plaintiff incorporates her General Objections above as if fully set forth herein.
 23 Plaintiff objects to this Interrogatory because it is a premature contention
 24 interrogatory improperly served before discovery in this matter—including
 25 document productions, inspection of electronic devices, depositions, and expert
 26 reports—is substantially complete. See, e.g., In re eBay Seller Antitrust Litig., 2008
 27 WL 5212170, at *2 (N.D. Cal. Dec. 11, 2008). Given this outstanding discovery, it
 28 is improper and unreasonable to request that Plaintiff set forth “all facts” in support
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